         Case 2:18-cv-02075-PBT Document 15 Filed 06/11/18 Page 1 of 2



                     IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
                                     :
SHARONELL FULTON, et al.,            :
                                     :         No. 2:18-cv-02075
            Plaintiffs,              :
                                     :
      v.                             :
                                     :
CITY OF PHILADELPHIA, et al.,        :
                                     :
            Defendants.              :
____________________________________:

                                NOTICE OF APPEARANCE
TO THE CLERK:
       Kindly enter the appearance of Molly Tack-Hooper of the ACLU of Pennsylvania as

counsel for the two proposed intervenor-defendants, The Support Center for Child Advocates

and Philadelphia Family Pride, in the above-captioned action.

 Dated: June 11, 2018                            /s/ Molly Tack-Hooper
                                                 Molly Tack-Hooper (PA 307828)
                                                 AMERICAN CIVIL LIBERTIES UNION OF
                                                 PENNSYLVANIA
                                                 P.O. Box 60173
                                                 Philadelphia, PA 19102
                                                 Tel.: (215) 592-1513 ext. 113
                                                 Fax: (215) 592-1343
                                                 mtack-hooper@aclupa.org
          Case 2:18-cv-02075-PBT Document 15 Filed 06/11/18 Page 2 of 2



                                 CERTIFICATE OF SERVICE

       I hereby certify that on this date, the foregoing Notice of Appearance was filed

electronically and served on all counsel of record via the ECF system of the United States

District Court for the Eastern District of Pennsylvania.



Dated: June 11, 2018                          /s/ Molly Tack-Hooper
